        Case: 1:16-cv-10117 Document #: 19 Filed: 05/03/17 Page 1 of 1 PageID #:47



                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 KIMBERLY DIANE MOHAMMAD,

 Plaintiff,                                                Case No: 1:16-cv-10117

 v.                                                        Honorable Judge Harry D.
                                                           Leinenweber
 COMENITY BANK,

 Defendant.


               AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, KIMBERLY

DIANE MOHAMMAD, and the Defendant, COMENITY BANK, through their respective counsel

that the above-captioned action is dismissed, with prejudice, against COMENITY BANK, pursuant

to settlement and Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney

fees.


Dated: May 3, 2017                                     Respectfully Submitted,

KIMBERLY DIANE MOHAMMAD                               COMENITY BANK

/s/ Nathan C. Volheim                                 /s/ Jennifer L. Majewski (with consent)
Nathan C. Volheim                                     Jennifer L. Majewski
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